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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

       Plaintiff,
 v.                                         Case No. 18-20533
                                            Honorable Victoria A. Roberts
 MICHAEL HINDS,

      Defendant.
 ___________________________/

           ORDER: (1) GRANTING IN PART AND DENYING IN
         PART HINDS’ MOTION IN LIMINE TO PROHIBIT USE OF
         THE TERM “FELON” [ECF No. 142]; AND (2) GRANTING
        THE GOVERNMENT’S MOTION IN LIMINE TO PRECLUDE
      EVIDENCE AND ARGUMENT RELATING TO CONSEQUENCES
       OF CONVICTION AND JURY NULLIFICATION [ECF No. 143]


 I.    INTRODUCTION

       In August 2018, a federal grand jury issued an Indictment charging

 Michael Hinds with: (1) possession with intent to distribute a controlled

 substance, in violation of 21 U.S.C. § 841; (2) being a felon in possession

 of a firearm, in violation of 18 U.S.C. § 922(g); and (3) possession of a

 firearm in furtherance of a drug trafficking crime, in violation of 18 U.S.C. §

 924(c). Trial is scheduled to begin March 3, 2022.

       Before the Court are: (1) Hinds’ motion in limine to prohibit use of the

 term “felon” [ECF No. 142]; and (2) the government’s motion in limine to
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 preclude evidence and argument relating to consequences of conviction

 and jury nullification [ECF No. 143]. The motions are fully briefed.

       For the reasons below, the Court: (1) GRANTS IN PART and

 DENIES IN PART Hinds’ motion to prohibit use of the term felon; and (2)

 GRANTS the government’s motion.


 II.   HINDS’ MOTION IN LIMINE TO PROHIBIT USE OF THE TERM
       “FELON” [ECF No. 142]

       A.     Request to Prohibit Use of the Term “Felon”

       The second count of the Indictment charges Hinds with felon in

 possession of a firearm in violation of 18 U.S.C. § 922(g)(1). However, the

 statute does not use the term “felon.” See § 922(g)(1) (“It shall be unlawful

 for any person . . . who has been convicted in any court of[] a crime

 punishable by imprisonment for a term exceeding one year . . . to . . .

 possess . . . any firearm . . . .”).

       Hinds moves the Court to prohibit use of the word “felon” before the

 jury – including at jury selection, in the jury instructions, and otherwise at

 trial to describe him, his prior record, or his charges. He argues that

 because § 922(g)(1) is not titled “felon in possession” of a firearm and does

 not use the term “felon,” disclosing that Hinds has a prior felony taints the

 jury’s opinion of him in violation of his due process rights. Hinds says the



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 Court should prohibit use of the word felon under Federal Rule of Evidence

 403, because the probative value from using the term is substantially

 outweighed by a danger of unfair prejudice to him. He says if it is disclosed

 that he is a convicted felon, the jury will find it more difficult to believe him

 or trust him since societal views of convicted felons are negative.

       The government says it intends to describe Hinds’ charges using the

 statutory language of 18 U.S.C. § 922(g)(1) and has no intention of using

 the term “felon” gratuitously at trial. However, it says Hinds has not shown

 that any reference to the term felon is so prejudicial that the Court should

 prohibit its use entirely during a trial for a crime that is best described as

 “felon in possession of a firearm.”

       In United States v. Ray, 803 F.3d 244 (6th Cir. 2015), the Sixth

 Circuit held that the district court did not abuse its discretion in allowing the

 use of the word “felon” at trial where a violation of Section 922(g)(1) was

 alleged. Id. at 260. However, the court noted that: (1) “courts in [the Sixth]

 Circuit have recognized the potential unfair prejudice that may arise as a

 result of trying a charge under § 922(g) with other charges arising from the

 same underlying conduct”; (2) “because the word ‘felon’ is not used in the

 statute, there is no reason a court could not use alternative language—

 such as the language of the statute—instead of labeling the defendant a



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 ‘felon’ or referring to a charge under § 922(g) as ‘felon in possession’”; and

 (3) “if a court conducted a Rule 403 analysis and concluded that the use of

 the term ‘felon’ or ‘felon in possession’ was unfairly prejudicial, [it] see[s] no

 reason such a ruling should not be upheld.” Id. at 259-60.

       This Court has granted similar motions where – like Hinds – the

 defendant agreed to stipulate to the fact that he had a previous conviction

 for a crime punishable by imprisonment for a term exceeding one year.

 See United States v. Nixon, No. 15-20020, 2015 U.S. Dist. LEXIS 176493,

 at *15-16 (E.D. Mich. Oct. 14, 2015) (Drain, J.) (holding “that the term

 ‘felon’ shall not be used in the course of any trial proceedings in this case,

 including, without limitation, during jury selection, in the jury instructions,

 and during opening statements, questioning of witnesses, and closing

 arguments” upon “finding that the term ‘felon’ could be unfairly prejudicial to

 a defendant”); United States v. Tutt, No. 13-20396, 2013 U.S. Dist. LEXIS

 163290, 2013 WL 6062035, at *4 (E.D. Mich. Nov. 15, 2013) (Drain, J.)

 (acknowledging particular “danger to Defendant because his prior weapons

 offense conviction create[d] a risk that he will be convicted on a propensity

 inference alone.”).

       To avoid unfair prejudice to Hinds and the risk that he is convicted on

 a propensity inference, the Court GRANTS Hinds’ request to prohibit use of



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 the term “felon” at trial. See id. The parties must not use the term “felon”

 during trial – including, without limitation, during jury selection, while

 questioning witnesses, during opening statements and closing arguments,

 and in jury instructions.

         B.    Request that the Jury Be Informed that Hinds is Charged
               with Being “ineligible” to Possess a Firearm

         In addition to prohibiting the use of the term “felon,” Hinds requests

 that:

         [T]he jury should only be informed that he is being charged with
         being “ineligible” to possess a weapon, and it can be stipulated
         that he did not have a license to carry a weapon and . . . that he
         was otherwise ineligible to carry a weapon. That way the only
         issue the jury would have had to consider is whether he
         “possessed” the weapon, and Hinds’ felony status would not
         have been disclosed.

                                     *    *   *

         In explaining the charge, this Court could simply state that
         Hinds is charged with violating § 922(g)(1), which prohibits
         ineligible persons from possessing weapons. When charging
         the jury on this Count, this Court could advise the jurors that the
         parties have stipulated that Hinds was not eligible to possess a
         weapon; then, the jury will only have to decide whether he
         actually possessed the weapon.

 [ECF No. 142, PageID.1195, 1197].

         In denying a similar request by the defendant in Nixon, Judge Drain

 observed that “simply telling the jury that Defendant is ‘ineligible’ to

 possess a firearm would eliminate from the jury’s consideration one of the


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 elements of the crime (i.e., Defendant is a ‘person—who has been

 convicted in any court of, a crime punishable by imprisonment for a term

 exceeding one year’).” Nixon, 2015 U.S. Dist. LEXIS 176493, at *17.

 Judge Drain then explained that this would be problematic because: (1) a

 “district court may not eliminate an element of the crime charged,” id.

 (quoting United States v. Underwood, 97 F.3d 1453, 1996 WL 536796 at *6

 (6th Cir. Sept. 20, 1996)); and (2) “it is still the Government’s burden to

 prove each element of the offense and, likewise, generally the jury must

 make a finding as to each element, even where there is a stipulation to the

 elemental facts,” id. at *17-18 (quoting Ray, 803 F.3d at 259).

        For the reasons explained in Nixon, the Court denies Hinds’ request

 to instruct the jury that he is charged with being “ineligible” to possess a

 firearm and that he is “ineligible” to possess a firearm. The Court will use

 the statutory language (i.e., that Hinds has been convicted of a crime

 punishable by imprisonment for a term exceeding one year) when

 instructing the jury.

 III.   THE GOVERNMENT’S MOTION IN LIMINE TO PRECLUDE
        EVIDENCE AND ARGUMENT RELATING TO CONSEQUENCES
        OF CONVICTION AND JURY NULLIFICATION [ECF No. 143]

        The government moves the Court to preclude evidence and argument

 relating to punishment or collateral consequences of conviction of Hinds, as



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 well as evidence and argument relevant only to, or advocating for, jury

 nullification. Specifically, the government requests that the Court prohibit

 any race-based arguments by Hinds related to the legitimacy of the stop

 and search of Hinds’ car. The government says such arguments: (1) do

 not bear on Hinds’ guilt or innocence and would only be advanced to

 support a plea for jury nullification; (2) are precluded by the Court’s prior

 rulings on Hinds’ multiple suppression motions, where the Court ruled that

 the stop and search of Hinds’ car was constitutionally permissible and that

 Hinds “presents no evidence of selective enforcement” to support his racial

 profiling claim.

       Hinds opposes the motion in part. Hinds does not respond to the

 government’s request to preclude evidence and argument related to

 punishment or collateral consequences of conviction and evidence and

 argument relevant only to, or advocating for, jury nullification. However,

 Hinds asks the Court “to deny the relief requested by the government

 related to precluding [him] from making ‘race-based arguments’ to attack

 the credibility of the government’s witnesses at trial.” [ECF No. 147,

 PageID.1224].

       Hinds says he has a constitutional right to confront the government

 law enforcement witnesses against him. He says “[t]he racial bias of the



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 government’s witnesses is relevant to their credibility”; the issue of their

 credibility is always relevant; and it is the province of the jury to make its

 own credibility decision for each witness. [Id., PageID.1228]. Hinds

 explains that “[his] argument to the jury [would be] that because of the

 officer(s)’ racial bias, their testimony should not be believed.” [Id.,

 PageID.1231].

       Because Hinds fails to respond to or oppose the government’s

 request to preclude evidence and argument related to punishment or

 collateral consequences of conviction and evidence and argument relevant

 only to, or advocating for, jury nullification, the Court GRANTS that request

 and bars evidence and argument of that nature.

       The only issue left to decide is whether to allow Hinds to make his so-

 called “‘race-based arguments’ to attack the credibility of the government’s

 witnesses.”

       Hinds says he “is not relitigating whether or not the pistol should have

 been suppressed; he is simply attacking the credibility of the government

 witnesses. The jury is . . . being asked to question the racial bias and

 credibility of the government’s witnesses— whether they should believe the

 government witnesses.” [ECF No. 147, PageID.1232-33].




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       The Court DENIES Hinds’ request. As the government states, the

 Court upheld the lawfulness of the search and seizure and found that Hinds

 presented no evidence of selective enforcement to support his racial

 profiling claim. Additionally, it is well-settled that “[s]ubjective intentions

 [and/or actual motivations for making a stop] play no role in ordinary,

 probable-cause Fourth Amendment analysis.” Arkansas v. Sullivan, 532

 U.S. 769, 771-72 (2001) (quoting Whren v. United States, 517 U.S. 806,

 813, (1996)).

       While Hinds is allowed to cross-examine government witnesses to

 test their credibility, he presents no evidence whatsoever that the officers

 here are racially biased. The questioning would be purely speculative and

 would create a danger of confusing the jury and/or causing jury nullification.

       To protect against these risks, the Court will not allow Hinds’

 proposed questioning unless he can present at least some evidence that

 the officers are racially biased such that the cross examination would not

 be a fishing expedition. If Hinds can present some evidence that the

 officers are racially biased, the Court will allow him to question the officers

 on their racial bias.




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  IV.   CONCLUSION

        The Court GRANTS IN PART and DENIES IN PART Hinds’ motion

  to prohibit use of the term “felon” [ECF No. 142] and GRANTS the

  government’s motion to preclude evidence and argument relating to

  consequences of conviction and jury nullification [ECF No. 143].

        IT IS ORDERED.

                                            s/ Victoria A. Roberts
                                            Victoria A. Roberts
                                            United States District Judge

  Dated: February 11, 2022




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